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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

 

 

INDIANAPOLIS DIVISION mm
UNITED STATES OF AMERICA, ) _h,_
Plaintiff, ) d 3
)
v. )
)
DENNIS WILSON, )
f 1§ 13-cr- OG&§TWP»WD
Defendant.

INDICTMENT
The Grand Jury charges that:
General Allegations

At times relevant to these charges:

1. b DENNIS WILSON, the defendant herein, Was a resident of the
Southern District Of Indiana.

2. The names MINOR VICTIl\/[S 1, 2, 3, 4, and 5 are pseudonyms of
minor children Who Were each less than 16 years old at the time of the relevant

conduct.

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Pseudonym Age Images Involved Devices Involved
MV1 12 2d48355702bd72acalc4c55e9 ZTE Cell Phone
ce48017fd61b81b3608d47c1d
3224edebd8350d.jpg
MV2 11 20140730_121307.mp4 Samsung Tablet and
Micro SD

11 20140901_133948.mp4

1 1 20140901_*134338.111})4

12 2015()612__110928.1:!11)4

 

 

MV3 15 20150612_110928.mp4 Sarnsung Tablet and
Micro SD

MV4 13 20150214_123119.!1:1})4 Samsung Tablet and
l\/licro SD

20150612,110928.1!1;)4

 

MV5 11- 20140831__004233.mp4 Samsung Tablet and
12 Micro SD
20140731_154255.1111)4
20140730_122155.DELETED.mp4

20140712__1 10448.DELETED.mp4

 

 

 

 

 

 

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3. DENNIS WILSON produced visual depictions of each Minor Victim
using a digital device Which Was not manufactured in the State of Indiana and
therefore travelled in interstate or foreign commerce

4. DENNIS WILSON is a convicted sex offender, having been convicted of
the offense of Sexual Misconduct With a Minor, a Class B felony in Indiana, on or
about March 27 , 1998. By definition, this offense Would involve a victim Who Was
14 or 15 years of age and the defendant Was at least 21 years of age at the time of

the conduct.

Definitions

5. The term “minor” means a person under the age of eighteen (18) years
as defined in 18 U.S.C. § 2256. d

6. The term “sexually explicit conduct” as defined in 18 U.S.C. § 2256,
means actual or simulated 1) sexual intercourse, including genital-genital, oral-
genital, anal-genital, or oral-anal, Whether between persons of the same sex or
opposite sex; 2) masturbation; or 3) lascivious exhibition of the genitals or pubic
area of any person.

7 . The term “visual depiction” is defined in 18 U.S.C. § 2256(5) as
including undeveloped film and videotape, data stored on computer disk or by other
electronic means Which is capable of conversion into a visual image, and data Which
is capable of conversion into a visual image that has been transmitted by any

means, Whether or not stored in a permanent format.

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Count 1
Sexual Exploitation of a Child
18 U.S.C. § 2251(a) and (e)

8. Paragraphs 1 through 7 of this lndictment are re-alleged and
incorporated by reference in Count 1.

9. On or between September 1, 2017 and January 30, 2018, within the
Southern District of Indiana and elsewhere, the defendant, DENNIS WILSON, did
use, employ, entice, persuade, induce, and coerce or did attempt to use, employ,
entice, persuade, induce or coerce any child who was less than 18 years of age, that
is MINOR VICTIM 1, to engage in sexually explicit conduct for the purpose of
producing any visual depiction of such, knowing or having reason to know that such
visual depiction would be transported or shipped in interstate or foreign commerce
or mailed, or such visual depiction was produced using materials that had been
mailed, shipped, or transported in interstate or foreign commerce by any means,
including by computer, or such visual depiction was actually transported or shipped
in interstate or foreign commerce or mailed, and DENNIS WILSON, at the time of
all conduct in question, had a prior conviction under the laws of Indiana relating to
aggravated sexual abuse, sexual abuse, abusive sexual contact involving a minor or
ward, specifically, DENNIS WILSON was convicted of the offense of Sexual
l\/Iisconduct with a Minor on or about l\/[arch 27, 1998 in Marion County, Indiana;

All of which is a Violation of 18 U.S.C. § 2251(a) and (e).

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Count 2
Possession of a Device Containing

Visual Depictions of Minors Engaged in Sexually Explicit Conduct
18 U.S.C. § 2252(a)(4)(B) and (b)(2)

10. Paragraphs 1 through 7 of this lndictment are re-alleged and
incorporated by reference in Count 2.

11. On or between November 1, 2017 and November 30, 2017, in the
Southern District of Indiana, the defendant, DENNIS WILSON, knowingly
possessed one or more books, magazines, periodicals, films, video tapes, and other
matter, which contained visual depictions that had been mailed, shipped and
transported using any means and facility of interstate and foreign commerce, and
shipped and transported in and affecting interstate and foreign commerce, and
which were produced using materials which had been mailed, and so shipped and
transported, by any means including by computer, where the producing of such
visual depictions involved the use of minors engaging in sexually explicit conduct
and such visual depictions were of such conduct, that is: the defendant knowingly
possessed at least one device that contained one or more visual depictions of minors
under the age of 18 years, including MINOR VICTIl\/I 1, MINOR VICTIM 2, MINOR
VICTIl\/[ 3, MINOR VICTIM 4, and MINOR VICTIM 5, that is a ZTE cell phone, a
Samsung Tablet anda micro SD card, and DENNIS WILSON, at the time of all
conduct in question, had a prior conviction under the laws of Indiana relating to

aggravated sexual abuse, sexual abuse, abusive sexual contact involving a minor or

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ward, specifically, DENNIS WILSON was convicted of the offense of Sexual
l\/lisconduct with a Minor on or about March 27 , 1998 in Marion County, Indiana;

All of which is a violation of Title 18, United States Code, Section

2252(a)(4)(B) and (b)(2).

A TRUE BILL:

    

FOREPERSO

JOSH J. MINKLER
United States Attorney

i. ,./74\

Kristina Marie Korobov
Assistant United State Attorney

By:

 

